      Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 1 of 21



                      UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION

OSCAR STILLEY
Reg. No. 10579-062                                                PLAINTIFF

VS.                                    CIVIL ACTION NO. 3:19cv6-HTW-LRA

WARDEN RIVERS, ET AL.                                           DEFENDANTS


                       REPORT AND RECOMMENDATION
                   OF UNITED STATES MAGISTRATE JUDGE

       This cause is before the undersigned Magistrate Judge for

Report and Recommendation on Defendant United States of

America’s Motion to Dismiss [25] and on the remaining

Defendants’ Motion to Dismiss [27].         The moving Defendants

assert that the claims of Oscar Stilley [hereinafter “Plaintiff”

or “Stilley”] should be dismissed due to his failure to exhaust

the administrative remedies that were available to him through

the Bureau of Prison’s [“BOP”] mandatory process set forth in 28

C.F.R. §§ 542.13(a) and agency review under 28 U.S.C. § 2675(a).

       After a review of the pleadings and exhibits, and the

applicable law, the undersigned recommends that the motions to

dismiss be granted based upon Stilley’s non-exhaustion.

                          I.   PROCEDURAL HISTORY

       Stilley is a federal inmate incarcerated at the Federal

Correctional Complex (“FCC-Yazoo”), in Yazoo City, Mississippi.

He was convicted of tax evasion in the Northern District of
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 2 of 21



Oklahoma and sentenced to 15 years in prison on April 23, 2010.

His original release date was May 17, 2023, with Good Conduct

Time.   Stilley filed a 69-page Complaint in this case, along

with 384 pages of supporting exhibits [1].       A Table of Contents

of the Complaint is located on pages 4-5.       He claims various

theories of subject-matter jurisdiction, including (1) federal

habeas under 28 U.S.C. 2241; the Federal Tort Claims Act

(“FTCA”); (3) the Freedom of Information Act (“FOIA”) (5 U.S.C.

552); (4) the Religious Freedom Restoration Act (“RFRA”); (5)

Bivens v. Six Unknown Named Agents of the Federal Bureau of

Narcotics, 403 U.S. 388 (1971); and (6) the Administrative

Procedure Act.   [1, p. 1].   His claims are numerous and will not

be set forth in detail herein.     For example, he describes his

Section 2241 claims on page 2 of the Complaint as follows:

        With respect to 2241 claims, Plaintiff is challenging
   certain “shots” as well as the loss of Good Conduct Time,
   etc., the denial of access to his own property, essential to
   reasonable access to the courts, retaliation against him for
   the exercise of rights protected by the 1st Amendment, due
   process clause, and other claims, which will be set forth
   hereinafter.

   According to Stilley, he was incarcerated at the Federal

Correctional Complex (FCC) Forrest City Low (Arkansas) from June

11, 2010, until the middle of 2015.      He was moved to Oakdale-1

in Oakdale, Louisiana until the middle of 2017, and to FCC



                                   2
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 3 of 21



Beaumont Low for a short period in late 2017 and early 2018.            He

was then moved to FCC Yazoo in early 2018 and remains housed

there.

     Defendants filed the instant motions and attached their

supporting exhibits.   As to the motion filed by the United

States on the FTCA claims [25], it filed the sworn Declaration

of Joshua Robles, Supervisory Attorney of Prisons, FCC Yazoo

[25-1], and Exhibit A [25-2], copies of Stilley’s Administrative

Tort History from the Bureau’s Content Manager System.         As to

the remaining Defendants’ Motion to Dismiss [27], they filed the

sworn Declaration of Lisa Singleton, Deputy Case-Management

Coordinator, FCC Yazoo, [27-1] and Stilley’s SENTRY

Administrative Remedy History [27-2].

                       II.   STANDARD OF REVIEW

  Rule 12(b)(1) of the Federal Rules of Civil Procedure allows a

party to challenge the subject matter jurisdiction of the

district court to hear a case.     Lack of subject matter

jurisdiction may be found in any one of three instances,

including (1) the complaint alone; (2) the complaint

supplemented by undisputed facts evidenced in the record; or (3)

the complaint supplemented by undisputed facts plus the court’s

resolution of disputed facts.     Ramming v. United States, 281



                                   3
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 4 of 21



F.3d 158, 161 (5th Cir. 2001) (per curiam).       The burden of proof

is on the party asserting jurisdiction, but the motion should be

granted only if it appears certain that plaintiff cannot prove a

plausible set of facts that establish subject-matter

jurisdiction.    Id.; Venable v. La. Workers’ Comp. Corp., 740

F.3d 937, 941 (5th Cir. 2013).    A motion to dismiss under Rule

12(b)(1) is analyzed under the same standard as a motion under

rule 12(b)(6).    In re Mirant Corp., 675 F.3d 530, 533 (5th Cir.

2012).   Subject matter jurisdiction may be challenged via a Rule

12(b)(1) motion.    Pride v. FEMA, 1:11cv33, 2012 WL 4051984, at

*1 (S.D. Miss. Sept. 13, 2012).

     III. DEFENDANT USA’S MOTION TO DISMISS FTCA CLAIMS [25]

     Stilley’s negligence claims were filed under the Federal

Tort Claims Act ("FTCA"), 28 U.S.C. §2674.        Under the FTCA, the

United States waives its sovereign immunity “for certain torts

committed by federal employees.”        FDIC v. Meyer, 510 U.S. 471,

475 (1994); 28 U.S.C. §1346(b).        It permits “civil actions for

damages against the United States for personal injury or death

caused by the negligence of a government employee under

circumstances in which a private person would be liable under

the law of the state in which the negligent act or omission

occurred.”   Quijano v. United States, 325 F.3d 564, 567 (5th



                                   4
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 5 of 21



Cir. 2003) (citing 28 U.S.C. §§ 1346(b); 2674).        The waiver of

sovereign immunity is limited, and it does not create any

substantive causes of action against the United States; it only

establishes the procedure for the remedy.       Certain Underwriters

of Lloyd’s v. United States, 511 F.2d 159 (5th Cir. 1975).

     The FTCA establishes specific prerequisites for filing an

FTCA claim, including the requirement that a plaintiff first

exhaust his administrative remedies under 28 U.S.C. § 2675(a).

This is a jurisdictional requirement that cannot be waived.         A

plaintiff must present an administrative claim in writing to the

appropriate federal agency and afford that agency an opportunity

to review the claim.   28 U.S.C. § 2675(a).      A plaintiff cannot

file suit until the agency denies the claim in writing or six

months pass after the filing of the administrative claim.         Id.

     A plaintiff has the burden of proving he has exhausted

because he is the party asserting jurisdiction.        Griener v.

United States, 900 F.3d 700, 703 (5th Cir. 2018).       Because

exhaustion is a jurisdictional prerequisite to bringing the

claim, a plaintiff bears the burden.      Ramming v. United States,

281 F.3d 158, 161 (5th Cir. 2001).

     As the basis of its Motion to Dismiss, the United States

contends that this Court lacks subject matter jurisdiction over



                                   5
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 6 of 21



Stilley’s tort claims because he has not exhausted the claims as

required under the FTCA.    In support, it attached the

Declaration of Joshua Robles, Supervisory Attorney for the FCC

Yazoo Legal Center.    Mr. Robles has the responsibility and

oversight over the administrative tort claims filed by inmates

against the BOP for acts or omissions of staff members at FCC

Yazoo.   In this role, he has access to the BOP’s “Content

Manager,” the BOP’s case-management software and system of

records.   See 25-1.

     According to Mr. Robles, he searched the Content Manager

for any administrative tort claims filed by Stilley.        His search

revealed that Stilley has never filed such a claim with the BOP

concerning any incident or claim associated with FCC Yazoo.         Id.

There were five claims filed by Stilley, but all of these arose

out of other institutions, not the FCC Yazoo.       Mr. Robles

attached records from Stilley’s Administrative Tort History as

Exhibit A [25-2].   These records describe the five claims he

filed, as “have not received property from transfer”; “Alleges

he is not receiving proper dental care, sister not allowed to

visit, suspension of his Trulincs account, his funds were placed

on hold, was served turkey patties which made him ill, was not

provided eyeglasses, and denied education”; “alleges his boots



                                   6
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 7 of 21



were missing from his property after being placed in SHU”; and,

“alleges various ongoing medical issues where proper treatment

is not received.”   [25-2, pp. 2-5].     All of these claims were

closed, and the dispositions are not given.

     Stilley filed a lengthy response and supporting memoranda

to both motions [31, 32], and his response to the FTCA

exhaustion issue is contained on pages 1-3.       Stilley refers to

pages 31-32 regarding the exhaustion required for his FTCA

claims.    His FTCA claims include his allegation that he has

received inadequate dental care while in custody of BOP.         He

apparently believes that his suit against the United States in

this case continues from prison to prison, even though the care

provided at each place is not the same.      His response also

focuses on whether this lawsuit was filed within six months of

receiving a right-to-sue letter.       But, as Defendant points out,

it is not the timeliness of Stilley’s Complaint at issue.

Instead, it is whether or not Stilley exhausted his FTCA claims

administratively--- a prerequisite to establishing this Court’s

jurisdiction.

     Stilley has set forth a generalized fear of retaliation.

Yet he does not offer specific threats or acts by any particular

officer.   These conclusory allegations do not excuse the



                                   7
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 8 of 21



exhaustion requirement or render the program unavailable.         See

Brown v. Civigenics, 439 Fed.Appx. 370, 371 (5th Cir. 2011).

     It is Stilley who must show that this Court has

jurisdiction over his FTCA claims.      In the opinion of the

undersigned, Stilley has not rebutted the Declaration of Joshua

Robles and the supporting records.      This Court has no

jurisdiction over his claims, and the undersigned recommends

that the United States’ Motion to Dismiss be granted.

     “The basic purpose of the exhaustion doctrine is to allow

an administrative agency to perform functions with its special

competence--- to make a factual record, to apply its expertise,

and to correct its own errors so as to moot judicial

controversies.”   Parisi v. Davidson, 405 U.S. 34, 37 (1972).

Indeed, the FTCA claims brought by Stilley are massive and

complicated and involve various theories of law.        Having these

determinations made by the specific agency involved would

probably be far more productive in obtaining relief than

including them all in this one lawsuit.

     IV. REMAINING DEFENDANTS’MOTION TO DISMISS [27]

    The remaining Defendants (Warden Christopher Rivers;

Director J.F. Caraway; Director J.A. Keller, Federal Bureau of

Prisons; the United States of America; United States Attorney



                                   8
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 9 of 21



General William Barr; former complex warden David Paul; and,

Director Kathleen Hawk Sawyer] filed a Motion to Dismiss [27].

In support, they submitted the Declaration of Lisa Singleton, a

Deputy Case Management Coordinator at the FCC Yazoo [27-1].         She

attached Stilley’s SENTRY Administrative Remedy History [27-2].

These Defendants assert that all of Stilley’s remaining claims

should be dismissed due to his failure to exhaust his

administrative remedies.

   Failure to exhaust is an affirmative defense, so these

Defendants have the burden of demonstrating that Stilley failed

to exhaust his administrative remedies.      Jones v. Bock, 549 U.S.

199, 216 (2007).    Because the Court relies on the records

submitted, it should convert this motion to one for summary

judgment.    Dillon v. Rogers, 596 F.3d 260, 271 (5th Cir. 2010).

At the summary judgment stage, this means that Defendants “must

establish beyond peradventure all of the essential elements of

the defense of exhaustion to warrant summary judgment in their

favor.”    Id. at 266.   The court shall grant summary judgment “if

the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter

of law.”    FED. R. CIV. P. 56(a). “The moving party must show that

if the evidentiary material of record were reduced to admissible



                                   9
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 10 of 21



evidence in court it would be insufficient to permit the

nonmoving party to carry its burden.”      Beck v. Tex. St. Board of

Dental Exam’rs, 304 F.3d 629, 633 (5th Cir. 2000) (citing Celotex

Corp. v. Catrett, 477 U.S. 317, 327 (1986)).        The burden shifts

to the non-movant to set forth specific facts showing that there

is a genuine issue for trial.     Allen v. Rapides Parish Sch. Bd.,

304 F.3d 619, 621 (5th Cir. 2000).

     The applicable section of the Prison Litigation Reform Act

(“PLRA”), 42 U.S.C. § 1997(e), provides that “[n]o action shall

be brought with respect to prison conditions under section 1983

of this title, or any other Federal law, by a prisoner confined

in any jail, prison, or other correctional facility until such

administrative remedies as are available are exhausted.”

     This exhaustion requirement extends to Bivens suits by

federal prisoners.    Porter v. Nussle, 534 U.S. 516, 524 (2002);

Zebroski v. U.S. Fed. Bureau of Prisons, 558 F.App’x 355, 359

(5th Cir. 2014). As Defendants point out, it also applies to all

of Stilley’s other claims, other than his FTCA claim, discussed

above.   See Pupo v. Laughlin, No. 5:12cv2, 2012 WL 2916742, at

*1 (S.D. Miss. May 29, 2012) (28 U.S.C. section 2241); Calhoun

v. Dept. of Justice, No. 08-1663, 2019 WL 1507649, at 1 (D.D.C.

April 14, 2010) (Freedom of Information Act (5 U.S.C. section



                                   10
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 11 of 21



552)); Doyon v. United States, A-07-CA-977-SS, 2008 WL 2626837,

at *4-5 (W.D. Tex. June 26, 2008) (RFRA);       and Krilich v. Fed.

Bureau of Prisons, 346 F.3d 167, 168 (6th Cir. Oct. 7, 2003)

(Administrative Procedure Act).

     The statute clearly requires an inmate bringing a civil

rights action in this Court to first exhaust his available

administrative remedies.     Booth v. Churner, 532 U.S. 731, 739

(2001).    Exhaustion is no longer left to the discretion of the

district court, but is mandatory.       Jones v. Bock, 549 U.S. 199,

211 (2007), Porter v. Nussle, 534 U.S. 516, 524 (2002).

Exhaustion will not be excused when an inmate fails to timely

exhaust his administrative remedies; the exhaustion requirement

also means “proper exhaustion.”      Woodford v. Ngo, 548 U.S. 81,

83-84 (2006).     It is not enough to merely initiate the grievance

process or to put prison officials on notice of a complaint; the

grievance process must be carried through to its conclusion.

Wright v. Hollingsworth, 260 F.3d 357, 358 (5th Cir. 2001).

This is so regardless of whether the inmate’s ultimate goal is a

remedy not offered by the administrative process, such as money

damages.    Id.

     The United States Supreme Court reiterated in Ross v.

Blake, 136 S.Ct. 1850, 1856-57 (2016), that exhaustion is



                                   11
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 12 of 21



mandatory and that a court may not excuse a failure to exhaust,

“even to take ‘special circumstances’ into account.”         Judicial

discretion is foreclosed.     Id.   “Time and again, this Court has

rejected every attempt to deviate from the PLRA’s textual

mandate.”   Id., citations omitted.

     The Fifth Circuit held that “the PLRA pre-filing exhaustion

requirement is mandatory and non-discretionary,” and that

“district courts have no discretion to waive the PLRA’s pre-

filing exhaustion requirement.”      Gonzalez v. Seal, 702 F.3d 785,

787-88 (5th Cir. 2012) (per curiam).      The Fifth Circuit case of

Wilson v. Epps, 776 F.3d 296, 299-300 (5th Cir. 2015), also

confirms that strict compliance with the administrative remedy

programs is required.    Filing the federal lawsuit before the

time has ended for the response by the BOP program is

impermissible for proper exhaustion.      Id.

   The Bureau’s four-step administrative remedies process is set

forth in 28 C.F.R. §§ 542.10-541.19.      An inmate must first seek

informal resolution through a BP-8 form.        28 C.F.R. §§ 542.13(a)

provides for the levels of review if the attempt of informal

resolution is unsuccessful.     First, the inmate must submit a BP-

9 form Request for Administrative Remedy to the Warden of the

facility in which he is incarcerated within 20 days after the



                                    12
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 13 of 21



basis for the grievance occurred. § 542.14(a).        If unsatisfied,

he may appeal to the appropriate BOP Regional Director by

submitting a Regional Administrative Remedy Appeal via a BP-10

form within 20 days of the Warden’s response.        Finally, if

unsatisfied with the Regional director’s response, he may appeal

to the General Counsel of the BOP by submitting a Central Office

Administrative Remedy Appeal (BP-11 form) within 30 days of the

Regional director’s response.     Id.   Time limits apply on each

step in the review.    Only after he has completed each level of

this process has an inmate exhausted his administrative remedies

with the BOP.

     As stated, Defendants submitted the Declaration of Lisa

Singleton, a Deputy Case-Management Coordinator at the FCC in

Yazoo, in support of their motion.      Ms. Singleton is responsible

for processing the administrative remedy requests filed by

inmates.   She has access to and knowledge of the computer

records known as SENTRY, which contain electronic records for

tracking inmates in the federal system, including their ARP

usage.   Ms. Singleton explained the program described in 28

C.F.R. §§ 542.10 et seq.      She explained that each initial form

filing, a BP-9, is assigned a number known as a “Remedy ID”.

This number is unique to that filing and may be used to follow



                                   13
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 14 of 21



the progression of a remedy from the BP-9 stage through the BP-

10 and BP-11 stages.

     Ms. Singleton conducted a search of the Bureau’s SENTRY

system for all administrative remedies filed by Stilley.         She

found that Stilley had filed 23 remedy requests with the BOP

while incarcerated at FCC Yazoo before he filed this lawsuit.

However, he failed to comply with and complete the BOP’s program

for “any one remedy series.” [27-1, p. 3].       The records she

attached show the rejection statuses of each remedy on pages 29-

40 of Stilley’s history.     His filings were rejected either as

untimely or for “some other procedural or circumstantial

deficiency.”   Id.

     Plaintiff attached some of his administrative filings to his

Complaint, and Defendants reviewed these and described the

reasons given for why they were rejected. [28, pp. 7-9].         Some of

these include the following reasons for rejection:

     1. A letter showing a claim returned as undeliverable

       (Complaint, [1], p. 5);

     2. Claim rejected because filed at wrong institutional level

       (pp. 23, 39);

     3. Claim rejected for not filing necessary paperwork (p. 15);

     4. Claim rejected because it was untimely (pp. 15,17,19,38);



                                   14
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 15 of 21



       5. Claim rejected for untimeliness and being filed at wrong

         institutional level (p. 39);

       6. Claim rejected for filing at wrong institutional level,

         for failing to use the correct form, and for failing to

         attempt informal resolution (pp. 33,52,55).

       Plaintiff filed a lengthy response to the motions, and his

primary argument regarding the non-FTCA claims rests on how

difficult the BOP’s administrative remedy program is to complete.

[31, 32].

       According to Plaintiff, he finished high school by earning a

GED.    He then graduated with a business degree in three years,

with high honors, from the University of Arkansas at

Fayetteville.    He earned his J.D. degree in 2½ years following

that and was admitted to the Arkansas Bar on April 15, 1991.

Before his incarceration, he practiced law for 19 years.         He

points out his education and background to illustrate that he is

more highly educated that most inmates.       Even so, the BOP has

held him to zero exhaustions versus 20 failures to exhaust---

this fact alone confirms that the alleged remedies are

“unavailable” within the meaning of applicable law, according to

Stilley.




                                   15
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 16 of 21



     In the opinion of the undersigned, Defendants have set forth

evidence meeting their burden of proving that Plaintiff has

failed to exhaust these claims.      Dismissal is required under the

requirement of strict exhaustion and the PLRA.        Exceptions to the

exhaustion requirement only apply in “extraordinary

circumstances,” and an inmate must demonstrate the futility or

unavailability of administrative review.       See Schipke v. Van

Buren, 239 F.App’x. 85, 86 (5th Cir. 2007) (quoting Fuller v.

Rich, 11 F.3d 61, 62 (5th Cir. 1992).

     The Supreme Court discussed exhaustion and the availability

of a prison’s administrative grievance procedure in Ross v.

Blake, 136 S.Ct. 1850.    The Court confirmed that exhaustion is

mandatory but held that the requirement hinges on the

availability of the remedies.     Id. at 1858.    The Court noted

three circumstances in which the remedies are unavailable but

stated that “these circumstances will not often arise.”         Id. at

1859.   The three circumstances are summarized as follows:

     1. A procedure is unavailable when, (despite what regulations

        or guidance materials promise) it operates as a simple

        dead end.   This may be when the program lacks authority to

        provide any relief.    Id. at 1859.

     2. An administrative program is so “opaque” that it becomes



                                   16
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 17 of 21



       as a practical matter, incapable of use.         Id.   “No

       ordinary prisoner can discern or navigate [the grievance

       system].”    Id.    This may be when the program lacks

       authority to provide any relief; it is available when

       there is “the possibility of some relief.”         Id.

     3. When prison administrators use misrepresentation or

       intimidation, including misleading the inmate as to the

       existence or rules of the grievance process or into

       thinking he had done all he needed to do. Id. at 1860.

     In this case, the administrative procedure program of BOP

could have provided at least some relief as to many of Stilley’s

numerous claims.   The program’s authority is limited to non-

monetary relief, as most ARP programs are.       But its authority is

set forth in the program and it has provided relief to prisoners

with similar claims.      Many prisoners have managed to exhaust, so

the program is not incapable of relief; there is a possibility of

relief as to most issues raised by Stilley.       Finally, although

Stilley complains about the behavior of various prisoner

administrators, he was clearly aware of the system and the rules;

he simply did not comply with all of the procedural requirements.

Stilley has not set forth evidence showing that the BOP procedure

was unavailable to him.     The exceptions are rare.     Stilley is a



                                   17
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 18 of 21



former attorney and should be able to navigate the BOP system, as

many non-attorneys do.

      Stilley’s attempts to show that the program is unavailable

due to its difficulty does not excuse the exhaustion requirement

in this case.    In fact, the undersigned has been the Magistrate

Judge in many cases filed by a pro se federal prisoner at Yazoo

FCC where that plaintiff has, in fact, exhausted his BOP

administrative remedies.     This is the case even though those

inmates were not as highly educated as Stilley.        Most inmate

plaintiffs limit their claims to fewer than Stlley’s, and this

probably makes the process less cumbersome and easier to utilize.

Nevertheless, it the prison that sets up the program, and this

Court has no authority to amend the program or to excuse its

requirements.    The fact that the program is somewhat complicated

and requires four steps simply does not render it “unavailable”

under the law.   Stilley could even now exhaust at least some of

his claims if new instances have arisen.

     Stilley generally contends that the BOP program is too

difficult to complete as to all steps.       Courts have held that

difficulty of the program, without more, is not sufficient to

excuse the exhaustion requirement.      Blevins v. Upton, Civil

Action No. 4:14cv1028, 2019 WL 1380176 at *5 (N.D. Tex. Mar. 26,



                                   18
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 19 of 21



2019) (without more, “the process is difficult and hard for

inmates to navigate” does not excuse exhaustion)(citations

omitted).

      Stilley argues on behalf on all inmates, rather than

setting forth the specific facts that rendered the BOP program

unavailable to him on each of his 20 grievances filed.         For

example, he contends that the DOJ-BOP uses punitive transfers or

placement in SHU (Special Housing Units) to “wreck the litigation

abilities” during the year inmates have to file a 2255 petition

[32, p. 7].   Yet, he provides nothing but his conclusory

allegation, unsupported by a factual basis.       Nor does he set

forth a specific deadline he missed or explain why he could not

file grievances while in the SHU.       All of his charges for why the

program was not available are generalized to the entire inmate

population, not to his specific claims or attempts to exhaust.

     In this case, it is the opinion of the undersigned that

Defendants’ “uncontested, competent summary judgment evidence

establishes beyond peradventure” that the remedy program at Yazoo

FCC was available to Stilley and that he failed to complete it

regarding the specific claims set forth in the Complaint.          See

Fruge v. Cox, Civil Action No. 14-0153, 2015 WL 964560 at *4

(W.D. La., March 4, 2015).



                                   19
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 20 of 21



     Because Stilley failed to exhaust his administrative

remedies, the Court need not reach the merits of the claims.             See

Marshall v. Price, 239 F.3d 365 (5th Cir. 2000) (declining to

reach the merits of an inmate’s Section 1983 claims after finding

that he failed to exhaust his administrative remedies).

                            IV. CONCLUSION

     For the reasons discussed herein, it is the recommendation

of the undersigned that Defendants’ Motions to Dismiss [25 & 27]

be granted, and that Plaintiff’s Complaint be dismissed without

prejudice.

                 NOTICE OF RIGHT TO APPEAL/OBJECT

     Pursuant to Rule 72(a)(3) of the Local Uniform Civil Rules

of the United States District Courts for the Northern District of

Mississippi and the Southern District of Mississippi, any party

within 14 days after being served with a copy of this Report and

Recommendation, may serve and file written objections.         Within 7

days of the service of the objection, the opposing party must

either serve and file a response or notify the District Judge

that he or she does not intend to respond to the objection.

     The parties are hereby notified that failure to file timely

written objections to the proposed findings, conclusions, and

recommendations contained within this report and recommendation,



                                   20
   Case 3:19-cv-00006-HTW-LRA Document 37 Filed 08/21/20 Page 21 of 21



shall bar that party, except upon grounds of plain error, from

attacking on appeal the unobjected-to proposed factual findings

and legal conclusions accepted by the district court.         28 U.S.C.

§ 636, Fed. R. Civ. P. 72(b) (as amended, effective December 1,

2009); Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415, 1428–

29 (5th Cir. 1996).

     Respectfully submitted, this the 21st day of August 2020.



                                 __/s/ Linda R. Anderson__________
                                 UNITED STATES MAGISTRATE JUDGE




                                   21
